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COUNSEL FOR NANCY DONDERO


                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

  In re:                                            §
                                                    §
  HIGHLAND CAPITAL MANAGEMENT,                      §                      Chapter 11
  L.P.,                                             §
                                                    §               Case No. 19-34054-sgj11
           Debtor.                                  §
                                                    §
  HIGHLAND CAPITAL MANAGEMENT,                      §
  L.P.,                                             §
                                                    §            Civ. Act. No. 3:21-cv-00881-X
           Plaintiff,                               §
                                                    §        (Consolidated with 3:21-cv-00880-X,
  v.                                                §        3:21-cv-01010-X, 3:21-cv-01378-X,
                                                    §                 3:21-cv-01379-X)
  HIGHLAND CAPITAL MANAGEMENT                       §
  FUND ADVISORS, L.P., et al.,                      §
                                                    §
           Defendants.                              §

              CERTIFICATE REGARDING JUDGE-SPECIFIC REQUIREMENTS

           I, the undersigned attorney, hereby certify that I have read and will comply with all

  judge-specific requirements for Judge Brantley Starr, United States District Judge for the

  Northern District of Texas.

           I further certify that no portion of any filing in this case will be drafted by generative

  artificial intelligence or that any language drafted by generative artificial intelligence—including

  quotations, citations, paraphrased assertions, and legal analysis—will be checked for accuracy,
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  using print reporters or traditional legal databases, by a human being before it is submitted to the

  Court. I understand that any attorney who signs any filing in this case will be held responsible

  for the contents thereof according to applicable rules of attorney discipline, regardless of whether

  generative artificial intelligence drafted any portion of that filing.

   Date: June 14, 2023                                   Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

        I hereby certify that on June 14, 2023, I caused the foregoing document to be served by ECF

   electronic service and/or e-mail upon all parties and counsel of record.



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